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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Tabula Rasa Partners, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1455 West Loop South Ste 230
                                  Houston, TX 77027
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Tabula Rasa Partners, LLC                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




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Debtor    Tabula Rasa Partners, LLC                                                                     Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                        1-49                                           1,000-5,000                               25,001-50,000
                                        50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50     million             $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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Debtor   Tabula Rasa Partners, LLC                                                    Case number (if known)
         Name

                             $50,001 - $100,000                        $10,000,001 - $50   million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                       $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                     $100,000,001 - $500 million            More than $50 billion




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Debtor    Tabula Rasa Partners, LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      12/03/2021
                                                  MM / DD / YYYY


                             X /s/ Michael R. Keener                                                      Michael R. Keener
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Independent Director




18. Signature of attorney    X /s/ Aaron J. Power                                                          Date   12/03/2021
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Aaron J. Power
                                 Printed name

                                 Porter Hedges LLP
                                 Firm name

                                 1000 Main Street, 36th Floor
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (713) 226-6000                Email address      apower@porterhedges.com

                                 24058058 TX
                                 Bar number and State




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                                                                           EXECUTION VERSION


                               TABULA RASA PARTNERS, LLC

                                Written Consent of the Sole Member

                                        November 30, 2021

        The undersigned, being the sole member (the “Member”) of Tabula Rasa Partners, LLC,
a Delaware limited liability company (the “Company”), hereby approves, consents to, and adopts
the following recitals and resolutions, and the actions authorized in such recitals and resolutions,
as the act of the Member by written consent as of the date set forth above.

       WHEREAS, pursuant to the Second Amended and Restated Limited Liability Company
Agreement of the Company dated effective as of July 31, 2020, the Member has exclusive and
complete authority and discretion to manage the operation and affairs of the Company and to
make all decisions regarding the business of the Company;

       WHEREAS, the Member, acting pursuant to the laws of the State of Delaware, has
considered the financial and operational aspects of the Company’s business;

        WHEREAS, the Member has reviewed the historical performance of the Company and
the current and long-term liabilities of the Company; and

     WHEREAS, the Member has analyzed each of the strategic alternatives available to the
Company.

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Member, it is
desirable and in the best interests of the Company, its creditors, employees and other interested
parties that a petition (the “Petition”) be filed by the Company seeking relief under the
provisions of Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”);

        FURTHER RESOLVED, that Michael Keener (the “Authorized Person”) shall be, and
hereby is authorized, directed, and empowered on behalf of and in the name of the Company to
execute and verify the Petition as well as all other ancillary documents and cause the Petition to
be filed with the in the United Starts Bankruptcy Court for the Southern District of Texas or such
court determined to be appropriate by the Authorized Person (the “Bankruptcy Court”) and
make or cause to be made prior to execution thereof any modifications to the Petition or ancillary
documents as the Authorized Person, in such Authorized Person’s discretion, deems necessary or
desirable to carry out the intent and accomplish the purposes of these resolutions (such approval
to be conclusively established by the execution thereof by such Authorized Person);

        RESOLVED FURTHER, that the Authorized Person, on behalf of the Company, is
authorized, empowered and directed to retain the law firm of Porter Hedges LLP (“PH”) as
bankruptcy counsel to represent and assist the Company in carrying out its duties under Chapter
11 of the Bankruptcy Code, and to take any and all actions to advance the Company’s rights in
connection therewith, and the Authorized Person is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Petition, and to cause to be filed an appropriate application for authority to retain the
services of PH;


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        RESOLVED FURTHER, that the Authorized Person be, and hereby is authorized and
directed to employ any other professionals necessary to assist the Company in carrying out its
duties under the Bankruptcy Code; and in connection therewith, such Authorized Person is
hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers prior to or immediately upon the filing of the Petition and cause to be filed appropriate
applications with the bankruptcy court for authority to retain the services of any other
professionals, as necessary, and on such terms as are deemed necessary, desirable and proper;

        RESOLVED FURTHER, that the Authorized Person be, and hereby is authorized and
empowered to obtain post-petition financing according to terms which may be negotiated by the
management of the Company, including under debtor-in-possession credit facilities or the use of
cash collateral; and to enter into any guaranties and to pledge and grant liens on its assets as may
be contemplated by or required under the terms of such post-petition financing or cash collateral
agreement; and in connection therewith, such Authorized Person is hereby authorized and
directed to execute appropriate loan agreements, cash collateral agreements and related ancillary
documents;

        RESOLVED FURTHER, that the Authorized Person be, and hereby is authorized on
behalf of the Company to take any and all actions, to execute, deliver, certify, file and/or record
and perform any and all documents, agreements, instruments, motions, affidavits, applications
for approvals or rulings of governmental or regulatory authorities or certificates and to take any
and all actions and steps deemed by such Authorized Person to be necessary or desirable to carry
out the purpose and intent of each of the foregoing resolutions and to effectuate a successful
Chapter 11 case, including, but not limited to the development, filing and prosecution to
confirmation of a Chapter 11 plan and related disclosure statement; and

       RESOLVED FURTHER, that any and all actions heretofore taken by the Authorized
Person or the Member in the name and on behalf of the Company in furtherance of the purpose
and intent of any or all of the foregoing resolutions be, and hereby are, ratified, confirmed, and
approved in all respects.

General

       RESOLVED FURTHER, that all acts and deeds heretofore done or actions taken by the
Member or any officer or agent of the Company for and on behalf of the Company in entering
into, executing, acknowledging or attesting any arrangements, agreements, instruments, or
documents in carrying out the terms and intentions of the foregoing preambles and resolutions be
and each of them hereby are ratified, approved, and confirmed in all respects as the acts and
deeds of the Company;

        RESOLVED FURTHER, that the Authorized Person be, and hereby is authorized,
directed, and empowered, in the name and on behalf of the Company, to take further action as he
may deem necessary or advisable in connection with the above-referenced transactions,
including execution of any document necessary to complete the above-referenced transactions;
and




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        RESOLVED FURTHER, that the Authorized Person be, and hereby is authorized,
directed and empowered, in the name and on behalf of the Company, to execute and deliver or
cause to be executed and delivered any and all other agreements, certificates, reports,
applications, notices, letters or other documents (including all instruments contemplated by any
of the above documents), and to do or cause to be done any and all further acts as such
Authorized Person shall deem necessary, appropriate or desirable to comply with the applicable
laws and regulations of any jurisdiction (domestic or foreign) or otherwise permit the Company
to fully and promptly carry out the purposes and intent of the foregoing preambles and
resolutions and to consummate the transactions contemplated thereby, and any such action taken
or any agreement, amendment, certificate, report, application, notice, letter or other document
executed and delivered by them or any of them in connection with any such action shall be
conclusive evidence of their or his or her authority to take, execute and deliver the same.



                                   [Signature page follows]




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                    IN WITNESS WHEREOF, the undersigned, being the Member, hereby executes this
            written consent effective as of the date first set forth above.


                                                                 SOLE MEMBER:

                                                                 CIBOLO TRP, LLC


                                                                 By:
                                                                 Name: Michael Keener
                                                                 Title: Manager




                     [SIGNATURE PAGE TO WRITTEN CONSENT OF THE SOLE MEMBER – TABULA RASA PARTNERS, LLC]
